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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

____________________________________
                                              )
PROPERTY OF THE PEOPLE, INC.                  )
et al.,                                       )
                                              )
       Plaintiffs,                            )
                                              )
       v.                                     ) Civil Action No. 17-1663 (APM)
                                              )
UNITED STATES DEPARTMENT OF                   )
JUSTICE, et al.,                              )
                                              )
       Defendants.                            )
                                              )

                         NOTICE OF LODGING OF EX PARTE
                       DECLARATION FOR IN CAMERA REVIEW

       Defendants hereby give notice that Defendants have provided to Chambers a copy of the

In Camera, Ex Parte Declaration of David M. Hardy in this Freedom of Information Act case.

The declaration discloses information about an active, ongoing law enforcement investigation by

the Federal Bureau of Investigation. Specifically, the declaration discloses the approximate

number of pages contained within the FBI’s file pertaining to the investigation, and is being

submitted to support the government’s estimated time to review the file as discussed in the parties’

Joint Status Report filed June 21, 2018.

                                              Respectfully submitted,

                                              JESSIE K. LIU
                                              D.C. BAR #472845
                                              United States Attorney

                                              DANIEL F. VAN HORN
                                              D.C. BAR #924092
                                              Chief, Civil Division
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                           ___/s/_________________
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